                   UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF KANSAS
                            WICHITA DIVISION

   In Re

   Pamela R Aikman,                             Case No. 18-12314
           Debtor.
                                                Chapter 7
   Specialized Loan Servicing, LLC
   as servicer for Towd Point Master            NOTICE OF OBJECTION
   Funding Trust 2018-PM22, U.S.                DEADLINE
   Bank National Association, as
   Trustee,
            Movant.

   v.

   Pamela R Aikman,                             Kozeny & McCubbin, L.C.
           Debtor,                              12400 Olive Blvd., Suite 555
                                                St. Louis, MO 63141
   and                                          (314)991-0255

   J Michael Morris, Trustee.
           Respondents.


    NOTICE WITH OPPORTUNITY FOR NONEVIDENTIARY HEARING
ON MOTION OF Specialized Loan Servicing, LLC as servicer for Towd Point
  Master Funding Trust 2018-PM22, U.S. Bank National Association, as
                              Trustee

       NOTICE IS HEREBY GIVEN, that if no written objection and/or response
thereto is filed with the Clerk of the U.S. Bankruptcy Court of Wichita, Kansas on
or before

                                  May 21, 2019

      The above motion will be granted by entry of an order to be prepared and
submitted by counsel for Movant. If an objection is timely filed, a nonevidentiary
hearing will be held before the U.S. Bankruptcy Court, 167 U.S. Courthouse, 401
N. Market, Wichita, KS 67202 on:

                                June 13, 2019 at 9:00 AM



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      MOVANT WAIVES THIRTY (30) DAY HEARING REQUIREMENT

                                       Kozeny & McCubbin, L.C.,
                                          Respectfully submitted,


                                          __/s/ Dustin Stiles
                                          Jonathon B. Burford, #78184
                                          Dustin Stiles, #25152
                                          Attorneys for Movant
                                          12400 Olive Blvd., Suite 555
                                          St. Louis, MO 63141
                                          Phone: (314) 991-0255
                                          Fax: (314) 567-8019
                                          ksbk@km-law.com

The undersigned certifies that a copy of the above and foregoing pleading was
filed electronically on April 30, 2019, to:

Mark J. Lazzo
Attorney for Debtor
3500 N Rock Rd
Building 300
Suite B
Wichita, KS 67226

J Michael Morris
Trustee
301 North Main Suite 1600
Wichita, KS 67202

Office of the US Trustee
U.S. Trustee
301 North Main Suite 1150
Wichita, KS 67202




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And delivered via regular U.S. Mail on April 30, 2019 to:

Pamela R Aikman
Debtor
319 Valleyview Ct
Andover, KS 67002

Wayne M. Aikman
Co Borrower
319 Valleyview Ct
Andover, KS 67002

Quicken Loans
Creditor
P.O. Box 6577
Carol Stream, IL 60197-6577


/s/ Shawn Grebe
Shawn Grebe




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